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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

                                                                              )
             In re:                                                           )   Chapter 11
                                                                              )
             PROTERRA INC, et al.,1                                           )   Case No. 23-11120 (BLS)
                                                                              )
                                       Debtors.                               )   (Joint Administration Requested)
                                                                              )
                                                                              )   Ref. Docket No. 7

                                     NOTICE OF FILING OF REVISED PROPOSED
                                       INTERIM EMPLOYEE WAGES ORDER

                      PLEASE TAKE NOTICE that, on August 7, 2023, the above-captioned debtors and

         debtors in possession (together, the “Debtors”) filed the Debtors’ Motion for Entry of Interim and

         Final Orders (I) Authorizing Payment of Certain Prepetition Employee Wages and Benefits, and

         (II) Granting Related Relief [D.I. 7] (the “Motion”).

                      PLEASE TAKE FURTHER NOTICE that, subsequent to filing the Motion, the Debtors

         received informal comments from various parties with respect to the proposed form of order (the

         “Proposed Interim Order”) attached as Exhibit A to the Motion. In order to address certain of the

         comments, the Debtors revised the Proposed Interim Order, as reflected in the revised form of

         order (the “Revised Proposed Interim Order”) attached hereto as Exhibit 1. For the convenience

         of the Court and all interested parties, a blackline comparing the Revised Proposed Interim Order

         against the Proposed Interim Order is attached hereto as Exhibit 2.

                      PLEASE TAKE FURTHER NOTICE that the Debtors intend to present the Revised

         Proposed Interim Order at the hybrid hearing scheduled for August 10, 2023 at 9:30 a.m. (ET)

         (the “Hearing”) before The Honorable Brenden Linehan Shannon, United States Bankruptcy Judge


         1     The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
               number, are as follows: Proterra Inc (1379); and Proterra Operating Company, Inc. (8459). The location of the
               Debtors’ service address is: 1815 Rollins Road, Burlingame, California 94010.
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         for the District of Delaware. The Debtors reserve all rights to modify the Revised Proposed Interim

         Order at or prior to the Hearing.

             Dated: August 10, 2023                 Respectfully submitted,
                    Wilmington, Delaware
                                                    YOUNG CONAWAY STARGATT &
                                                    TAYLOR, LLP

                                                    /s/ Shella Borovinskaya
                                                    Pauline K. Morgan (No. 3650)
                                                    Andrew L. Magaziner (No. 5426)
                                                    Shella Borovinskaya (No. 6758)
                                                    Rodney Square
                                                    1000 North King Street
                                                    Wilmington, Delaware 19801
                                                    Telephone: (302) 571-6600
                                                    Facsimile: (302) 571-1253
                                                    Email: pmorgan@ycst.com
                                                             amagaziner@ycst.com
                                                             sborovinskaya@ycst.com

                                                              - and -

                                                    PAUL, WEISS, RIFKIND,
                                                    WHARTON & GARRISON LLP
                                                    Paul M. Basta (admitted pro hac vice)
                                                    Robert A. Britton (admitted pro hac vice)
                                                    Michael J. Colarossi (admitted pro hac vice)
                                                    1285 Avenue of the Americas
                                                    New York, New York 10019
                                                    Tel: (212) 373-3000
                                                    Fax: (212) 757-3990
                                                    Email: pbasta@paulweiss.com
                                                           rbritton@paulweiss.com
                                                           mcolarossi@paulweiss.com

                                                    Proposed Counsel to the Debtors and
                                                    Debtors in Possession




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                                    Exhibit 1

                         Revised Proposed Interim Order




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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

                                                                              )
             In re:                                                           )   Chapter 11
                                                                              )
             PROTERRA INC, et al.,1                                           )   Case No. 23-11120 (BLS)
                                                                              )
                                       Debtors.                               )   (Jointly Administered)
                                                                              )
                                                                              )   Re: Docket No. 7

                                   INTERIM ORDER (I) AUTHORIZING
                             THE DEBTORS TO PAY PREPETITION EMPLOYEE
                         WAGES AND BENEFITS, AND (II) GRANTING RELATED RELIEF

                      Upon the motion (the “Motion”) of the Debtors2 for entry of an interim order (this “Interim

         Order”) (a) authorizing the Debtors to (i) pay certain prepetition wages, salaries, other

         compensation, and reimbursable expenses, and (ii) continue employee benefits programs in the

         ordinary course of their business, including payment of certain prepetition obligations related

         thereto, each subject to the caps and limits set forth herein, and (b) granting related relief, all as

         more fully set forth in the Motion; and upon the First Day Declaration; and this Court having

         jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

         Order; and this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2);

         and this Court having found that venue of this proceeding and the Motion in this district is proper

         pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in

         the Motion is in the best interests of the Debtors’ estates, their creditors, and other parties in

         interest; and this Court having found that the Debtors’ notice of the Motion and opportunity for a



         1
               The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
               number, are as follows: Proterra Inc (9565); and Proterra Operating Company, Inc. (8459). The location of the
               Debtors’ service address is: 1815 Rollins Road, Burlingame, California 94010.
         2
               Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.

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         hearing on the Motion were appropriate under the circumstances and no other notice need be

         provided; and this Court having reviewed the Motion and having heard the statements in support

         of the relief requested therein at a hearing before this Court (the “Hearing”); and this Court having

         determined that the legal and factual bases set forth in the Motion and at the Hearing establish just

         cause for the relief granted herein; and upon all of the proceedings had before this Court; and after

         due deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

                         The Motion is GRANTED on an interim basis as set forth herein.

                         The Debtors are authorized to pay, in an aggregate amount of $7,042,004,

         obligations in connection with the Compensation and Benefits Programs arising prior to the

         Petition Date, that the Debtors expect to become due and payable prior to the Final Hearing (the

         “Interim Period”), and to pay any postpetition Compensation and Benefits Programs obligations;

         provided, that the Debtors will not make payments on account of any prepetition severance

         obligations unless required by state law, or make any payments to the Directors, the Non-

         Represented COI Workers, or under the Annual Cash Bonus Programs on account of prepetition

         obligations in the Interim Period.

                         The Debtors are authorized to pay or remit, with respect to the each program

         outlined below, each as more fully described in the Motion, the following interim amounts during

         the Interim Period on account of prepetition obligations:

                    Prepetition Compensation and Benefits Obligations                  Interim Amount
             Unpaid Wages                                                                 $5,980,716
                    Wage Deductions                                                       $1,236,000
             Non-Insider Employee Cash Bonus Programs                                        $4,800
             Expenses and Reimbursements                                                   $120,000
             Employee Benefits Programs                                                    $718,688
                    Insurance Benefits                                                     $533,288
                    Other Employee Benefits                                                $185,400
             Employee Compensation Tax Obligations                                          $55,800
             Payroll Processor Fees                                                        $162,000
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             Total                                                                      $7,042,004

                        The Debtors are authorized to continue the Compensation and Benefits Programs

         described in the Motion in accordance with historical practice in the ordinary course of the

         Debtors’ business, provided that the Debtors are not authorized to continue the Executive

         Employee Severance Agreements; provided, further, that this Interim Order does not authorize the

         Debtors to grant additional awards under the Equity Incentive Program during these chapter 11

         cases; provided, further, that approval of the Annual Cash Bonus Programs and the Informal Non-

         Executive Severance Program is subject to approval by a Final Order.

                        The Debtors are authorized to continue to honor all prepetition and postpetition

         obligations to the RIF Workers and the EBA Workers solely as such obligations come due and

         owing during the Interim Period; provided, that, payments on account of prepetition obligations to

         RIF Workers and EBA Workers will not, in conjunction with the other programs constituting the

         Other Employee Benefits, exceed the amounts set forth in this Interim Order.

                        The Debtors may pay and remit any and all Wage Deductions, Employee

         Compensation Tax Obligations, and Payroll Taxes in the ordinary course of business on a

         postpetition basis.

                        The Debtors are authorized to modify, change, and discontinue any of their

         Compensation and Benefits Programs and to implement new programs, policies, and benefits in

         the ordinary course during these chapter 11 cases in the Debtors’ sole discretion and without the

         need for further Court approval, subject to applicable law including 11 U.S.C. § 1113, including,

         without limitation, modifying, extending, or changing the terms of the EBA with the consent of

         the Union.




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                          The Debtors are authorized to establish the Self-Insured Escrow Account and

         deposit the Self-Insured Escrow Amount as soon as reasonably practicable following the Petition

         Date.

                          The Debtors are authorized, but not directed, to continue the Workers’

         Compensation Program, in the ordinary course of business and in accordance with the Debtors’

         prepetition policies and programs, and to pay any workers’ compensation claims, deductibles,

         retentions, premiums, and other amounts required in connection with the Workers Compensation

         Program as such amounts become due in the ordinary course during the pendency of these chapter

         11 cases, regardless of when accrued.

                          Notwithstanding any provision in the Motion or this Interim Order to the contrary,

         this Interim Order does not authorize any payments which may implicate the provisions of section

         503(c)(1) or (2) of the Bankruptcy Code.

                          The banks and financial institutions on which checks were drawn or electronic

         payment requests made in payment of the prepetition obligations approved herein are authorized

         to receive, process, honor, and pay all such checks and electronic payment requests when presented

         for payment, and all such banks and financial institutions are authorized to rely on the Debtors’

         designation of any particular check or electronic payment request as approved by this

         Interim Order.

                          Notwithstanding the relief granted herein and any actions taken pursuant to such

         relief, nothing in this Interim Order shall be deemed: (a) an admission as to the amount of, basis

         for, or validity of any claim against a Debtor entity under the Bankruptcy Code or other applicable

         nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s right to dispute

         any claim on any grounds; (c) a promise or requirement to pay any claim; (d) an implication or


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         admission that any particular claim is of a type specified or defined in the Motion or any order

         granting the relief requested by the Motion or a finding that any particular claim is an

         administrative expense claim or other priority claim; (e) a request or authorization to assume,

         adopt, or reject any agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code;

         (f) an admission as to the validity, priority, enforceability, or perfection of any lien on, security

         interest in, or other encumbrance on property of the Debtors’ estates; (g) a waiver or limitation of

         the Debtors’, or any other party in interest’s, rights under the Bankruptcy Code or any other

         applicable law; or (h) a concession by the Debtors that any liens (contractual, common law,

         statutory, or otherwise) that may be satisfied pursuant to the relief requested in the Motion are

         valid, and the rights of all parties in interest are expressly reserved to contest the extent, validity,

         or perfection or seek avoidance of all such liens.

                          The requirements of Bankruptcy Rule 6003(b) have been satisfied because the relief

         requested in the Motion is necessary to avoid immediate and irreparable harm to the Debtors and

         their estates.

                          Notice of the Motion as provided therein is hereby deemed good and sufficient

         notice of such Motion, and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are

         satisfied by such notice.

                          Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this

         Interim Order are immediately effective and enforceable upon its entry.

                          The Debtors are authorized to take all actions necessary to effectuate the relief

         granted in this Interim Order.




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                         This Court retains exclusive jurisdiction with respect to all matters arising from or

         related to the implementation, interpretation, and enforcement of this Interim Order.

                         The final hearing on the Motion shall be held on _______, 2023, at __:__ _.m.,

         prevailing Eastern Time. Any objections or responses to entry of a final order on the Motion must

         be filed with the Court on or before 4:00 p.m., prevailing Eastern Time, on _______, 2023, and

         served on the following parties: (a) proposed counsel to the Debtors (i); Paul, Weiss, Rifkind,

         Wharton & Garrison LLP, 1285 Avenue of the Americas, New York, New York 10019, Attn. Paul

         Basta (pbasta@paulweiss.com) and Robert Britton (rbritton@paulweiss.com), and (ii) Young

         Conaway Stargatt & Taylor, LLP, 1000 North Street, Wilmington, Delware, 19801, Attn: Pauline

         K. Morgan (pmorgan@ycst.com), and Andrew L. Magaziner (amagaziner@ycst.com); (b) the

         Office of the United States Trustee for the District of Delaware, 844 King Street, Suite 2207,

         Wilmington, Delaware, 19801, Attn: Linda Casey (linda.casey@usdoj.gov); (c) the administrative

         and collateral agents under the Debtors’ prepetition credit facilities and counsel thereto; and (d) the

         statutory committee of unsecured creditors, if any has been appointed. If no objections to entry of

         a final order on the Motion are timely received, the Court may enter such final order without need

         for the final hearing.




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                                    Exhibit 2

                                    Blackline




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                      )
    In re:                                                            )   Chapter 11
                                                                      )
    PROTERRA INC, et al.,1                                            )   Case No. 23-11120 (___BLS)
                                                                      )
                              Debtors.                                )   (Jointly Administered)
                                                                      )
                                                                      )   Re: Docket No. __7

                         INTERIM ORDER (I) AUTHORIZING
                   THE DEBTORS TO PAY PREPETITION EMPLOYEE
               WAGES AND BENEFITS, AND (II) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”) of the Debtors12                    for entry of an interim order

(this “Interim Order”) (a) authorizing the Debtors to (i) pay certain prepetition wages, salaries,

other compensation, and reimbursable expenses, and (ii) continue employee benefits programs in

the ordinary course of their business, including payment of certain prepetition obligations related

thereto, each subject to the caps and limits set forth herein, and (b) granting related relief, all as

more fully set forth in the Motion; and upon the First Day Declaration; and this Court having

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order; and this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2);

and this Court having found that venue of this proceeding and the Motion in this district is proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in

the Motion is in the best interests of the Debtors’ estates, their creditors, and other parties in

interest; and this Court having found that the Debtors’ notice of the Motion and opportunity for a



1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Proterra Inc (9565); and Proterra Operating Company, Inc. (8459). The location of the
      Debtors’ service address is: 1815 Rollins Road, Burlingame, California 94010.
12
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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hearing on the Motion were appropriate under the circumstances and no other notice need be

provided; and this Court having reviewed the Motion and having heard the statements in support

of the relief requested therein at a hearing before this Court (the “Hearing”); and this Court having

determined that the legal and factual bases set forth in the Motion and at the Hearing establish just

cause for the relief granted herein; and upon all of the proceedings had before this Court; and after

due deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

               The Motion is GRANTED on an interim basis as set forth herein.

               The Debtors are authorized to pay, in an aggregate amount of $7,042,004,

obligations in connection with the Compensation and Benefits Programs arising prior to the

Petition Date, that the Debtors expect to become due and payable prior to the Final Hearing (the

“Interim Period”), and to pay any postpetition Compensation and Benefits Programs obligations;

provided, that the Debtors will not make payments on account of any prepetition severance

obligations unless required by state law, or make any payments to the Directors, the Non-

Represented COI Workers, or under the Annual Cash Bonus Programs on account of prepetition

obligations in the Interim Period.

               The Debtors are authorized to pay or remit, with respect to the each program

outlined below, each as more fully described in the Motion, the following interim amounts during

the Interim Period on account of prepetition obligations:

        Prepetition Compensation and Benefits Obligations                     Interim Amount
 Unpaid Wages                                                                    $5,980,716
        Wage Deductions                                                          $1,236,000
 Non-Insider Employee Cash Bonus Programs                                           $4,800
 Expenses and Reimbursements                                                      $120,000
 Employee Benefits Programs                                                       $718,688
        Insurance Benefits                                                        $533,288
        Other Employee Benefits                                                   $185,400
 Employee Compensation Tax Obligations                                             $55,800
 Payroll Processor Fees                                                           $162,000
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 Total                                                                         $7,042,004

               The Debtors are authorized to continue the Compensation and Benefits Programs

described in the Motion in accordance with historical practice in the ordinary course of the

Debtors’ business, provided that the Debtors are not authorized to continue the Executive

Employee Severance Agreements; provided, further, that this Interim Order does not authorize the

Debtors to grant additional awards under the Equity Incentive Program during these chapter 11

cases; provided, further, that approval of the Annual Cash Bonus Programs and the Informal Non-

Executive Severance Program is subject to approval by a Final Order.

               The Debtors are authorized to continue to honor all prepetition and postpetition

obligations to the RIF Workers and the COIEBA Workers solely as such obligations come due and

owing during the Interim Period; provided, that, payments on account of prepetition obligations to

RIF Workers and COIEBA Workers will not exceed that, in conjunction with the other programs

constituting the Other Employee Benefits, exceed the amounts set forth in this Interim Order.

               The Debtors may pay and remit any and all Wage Deductions, Employee

Compensation Tax Obligations, and Payroll Taxes in the ordinary course of business on a

postpetition basis.

               The Debtors are authorized to modify, change, and discontinue any of their

Compensation and Benefits Programs and to implement new programs, policies, and benefits in

the ordinary course during these chapter 11 cases in the Debtors’ sole discretion and without the

need for further Court approval, subject to applicable law including 11 U.S.C. § 1113, including,

without limitation, modifying, extending, or changing the terms of the EBA; provided that

payments on account of prepetition obligations under the EBA will not exceed the amounts

provided in this Interim Order with the consent of the Union.
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                 The Debtors are authorized to establish the Self-Insured Escrow Account and

deposit the Self-Insured Escrow Amount as soon as reasonably practicable following the Petition

Date.

                 The Debtors are authorized, but not directed, to continue the Workers’

Compensation Program, in the ordinary course of business and in accordance with the Debtors’

prepetition policies and programs, and to pay any workers’ compensation claims, deductibles,

retentions, premiums, and other amounts required in connection with the Workers Compensation

Program as such amounts become due in the ordinary course during the pendency of these chapter

11 cases, regardless of when accrued.

                 Notwithstanding any provision in the Motion or this Interim Order to the contrary,

this Interim Order does not authorize any payments which may implicate the provisions of section

503(c)(1) or (2) of the Bankruptcy Code.

                    The banks and financial institutions on which checks were drawn or electronic

payment requests made in payment of the prepetition obligations approved herein are authorized

to receive, process, honor, and pay all such checks and electronic payment requests when presented

for payment, and all such banks and financial institutions are authorized to rely on the Debtors’

designation of any particular check or electronic payment request as approved by this

Interim Order.

                    Notwithstanding the relief granted herein and any actions taken pursuant to such

relief, nothing in this Interim Order shall be deemed: (a) an admission as to the amount of, basis

for, or validity of any claim against a Debtor entity under the Bankruptcy Code or other applicable

nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s right to dispute

any claim on any grounds; (c) a promise or requirement to pay any claim; (d) an implication or
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admission that any particular claim is of a type specified or defined in the Motion or any order

granting the relief requested by the Motion or a finding that any particular claim is an

administrative expense claim or other priority claim; (e) a request or authorization to assume,

adopt, or reject any agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code;

(f) an admission as to the validity, priority, enforceability, or perfection of any lien on, security

interest in, or other encumbrance on property of the Debtors’ estates; (g) a waiver or limitation of

the Debtors’, or any other party in interest’s, rights under the Bankruptcy Code or any other

applicable law; or (h) a concession by the Debtors that any liens (contractual, common law,

statutory, or otherwise) that may be satisfied pursuant to the relief requested in the Motion are

valid, and the rights of all parties in interest are expressly reserved to contest the extent, validity,

or perfection or seek avoidance of all such liens.

                     The requirements of Bankruptcy Rule 6003(b) have been satisfied because the

relief requested in the Motion is necessary to avoid immediate and irreparable harm to the Debtors

and their estates.

                     Notice of the Motion as provided therein is hereby deemed good and sufficient

notice of such Motion, and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are

satisfied by such notice.

                     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this

Interim Order are immediately effective and enforceable upon its entry.

                     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Interim Order.
              Case 23-11120-BLS          Doc 56     Filed 08/10/23      Page 16 of 16




                    This Court retains exclusive jurisdiction with respect to all matters arising from

or related to the implementation, interpretation, and enforcement of this Interim Order.

                    The final hearing on the Motion shall be held on _______, 2023, at __:__ _.m.,

prevailing Eastern Time. Any objections or responses to entry of a final order on the Motion must

be filed with the Court on or before 4:00 p.m., prevailing Eastern Time, on _______, 2023, and

served on the following parties: (a) proposed counsel to the Debtors (i); Paul, Weiss, Rifkind,

Wharton & Garrison LLP, 1285 Avenue of the Americas, New York, New York 10019, Attn. Paul

Basta (pbasta@paulweiss.com) and Robert Britton (rbritton@paulweiss.com), and (ii) Young

Conaway Stargatt & Taylor, LLP, 1000 North Street, Wilmington, Delware, 19801, Attn: Pauline

K. Morgan (pmorgan@ycst.com), and Andrew L. Magaziner (amagaziner@ycst.com); (b) the

Office of the United States Trustee for the District of Delaware;, 844 King Street, Suite 2207,

Wilmington, Delaware, 19801, Attn: Linda Casey (linda.casey@usdoj.gov); (c) the administrative

and collateral agents under the Debtors’ prepetition credit facilities and counsel thereto; and (d) the

statutory committee of unsecured creditors, if any has been appointed. If no objections to entry of

a final order on the Motion are timely received, the Court may enter such final order without need

for the final hearing.
